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               Exhibit 1
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                             Defendants
       Defendant                   Twitter Name                  Discord Name


 Edward Constantinescu            @MrZackMorris                Zack Morris#0001


   Perry “PJ” Matlock              @PJ_Matlock                  PJ Matlock#0001


    John Rybarczyk                 @Ultra_Calls                    Ultra#0374


       Gary Deel                  @notoriousalerts            Mystic Mac 🍀#7345


    Tom Cooperman                 @ohheytommy                TOMMY COOPS #5323


     Stefan Hrvatin                @LadeBackk                  Lade Backk#6083



   Mitchell Hennessey             @Hugh_Henne              HOODHUGHBEAR🐂#4034


     Daniel Knight                  @DipDeity                Dan, Deity of Dips#8114


     Francis Sabo                  @RickyBobby               Ricky Bobby 🏁#7407

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                                                                                        GOVERNMENT
                                                                                          EXHIBIT
                                                                                             1
                                                                                         4:22-cr-612
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Edward Constantinescu a/k/a Constantin
  @MrZackMorris, ZackMorris#0001




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      Perry “PJ” Matlock
  @PJ_Matlock, PJMatlock#0001




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             John Rybarczyk
         @Ultra_Calls, Ultra#0374




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             Gary Deel
@notoriousalerts, Mystic Mac 🍀#7345




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         Tom Cooperman
@ohheytommy, TOMMY COOPS #5323




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          Stefan Hrvatin
    @LadeBackk, LadeBackk6083




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         Mitchell Hennessey
@Hugh_Henne, HOODHUGHBEAR🐂#4034




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          Daniel Knight
@DipDeity, Dan, Deity of Dips#8114




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                        Atlas Trading




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                        Atlas Trading




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                        Atlas Trading




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                        Atlas Trading




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             Pennies: Going in Raw




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             Pennies: Going in Raw




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             Pennies: Going in Raw




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             Pennies: Going in Raw




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             Pennies: Going in Raw




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             Pennies: Going in Raw




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